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 7
     Attorneys for Defendant,
 8 JAMES RIVER INSURANCE COMPANY
 9
                              IN THE UNITED STATES DISTRICT COURT
10
                                                DISTRICT OF NEVADA
11
12
     MATTHEW BUMGARDNER,                  ) Case No. 2:20-cv-00381-KJD-BNW
13                                        )
                 Plaintiff,               ) STIPULATION AND ORDER TO
14                                        ) DISMISS WITH PREJUDICE
            vs.                           )
15                                        )
     JAMES RIVER INSURANCE                )
16   COMPANY; RAISER, LLC dba UBER, )
     UBER TECHNOLOGIES INC, dba           )
17   UBER; DOES I through X; and ROE      )
     BUSINESS ENTITIES I through X;       )
18   inclusive; DOES I through X; and ROE )
     BUSINESS ENTITIES I through X,       )
19   inclusive,                           )
                                          )
20               Defendants.              )
                                          )
21
22            IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff,
23 Matthew Bumgardner by and through his attorneys of record, Richard A. Harris, Esq.
24 and Samantha A. Martin, Esq. of Richard Harris Law Firm, and Defendant, James
25 River Insurance Company by and through its attorneys of record, Jared G.
26 Christensen, Esq. and Deleela M. Weinerman, Esq. of Bremer Whyte Brown and
27 O’Meara, LLP, that all of Plaintiff’s claims against James River Insurance Company
28 ///



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       Case 2:20-cv-00381-KJD-BNW Document 46 Filed 08/22/22 Page 2 of 2



 1 be dismissed, with prejudice, the parties to each bear their own fees and costs.
 2 Dated this 9th day of August, 2022                               Dated this 17th day of August, 2022
 3 RICHARD HARRIS LAW FIRM                                          BREMER WHYTE BROWN &
                                                                    O’MEARA, LLP
 4
 5 By: /s/ Samantha A. Martin                                       By: /s/ Deleela M. Weinerman
 6
   Richard A. Harris, Esq.                                          Jared G. Christensen, Esq.
   Nevada Bar No. 505                                               Nevada Bar No. 11538
 7 Samantha A. Martin, Esq.                                         Deleela M. Weinerman, Esq.
 8
   Nevada Bar No. 12998                                             Nevada Bar No. 13985
   Attorney for Plaintiff                                           Attorneys for Defendant,
 9 Matthew Bumgardner                                               James River Insurance Company
10
11                                                           ORDER
12                                                 IT IS SO ORDERED:
13
14                                                           ____________________________________
15                                                           UNITED STATES DISTRICT JUDGE
16
17
                                                                     8/22/22
                                                             Dated: _____________________________
18
19
20            The       STIPULATION                   AND      ORDER        FOR     DISMISSAL        WITH
21 PREJUDICE) in 2:20-cv-00381-KJD-BNW was submitted by:
22 BREMER WHYTE BROWN & O’MEARA LLP
23
24 By: /s/ Deleela M. Weinerman, Esq.
     Jared G. Christensen, Esq.
25 Nevada State Bar No. 11538
     Deleela M. Weinerman
26 Nevada State Bar No. 13985
     Attorneys for Defendant,
27 James River Insurance Company
28
                                                                2

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